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                    EXHIBIT B
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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


 IN RE: FUTURE MOTION, INC.


                                                  MDL No. 3087


                                                  Judge Beth Labson Freeman


      DECLARATION OF RENE ROCHA IN SUPPORT OF APPOINTMENT TO
                   PLAINTIFF’S CO-LEAD COUNSEL
        I am a partner with Morgan & Morgan’s Complex Litigation Group. I joined the firm in
the aftermath of the Deepwater Horizon Oil Spill and coordinate the firm’s interdisciplinary
Environmental Toxic Tort Practice Group along with Frank Petosa. I have been involved in a wide
array of complex products liability cases and environmental litigations, and have received court
appointed leadership positions in several such cases. I have received several awards and
recognitions from legal publications for his work in these areas. My experience and collaborative
skills have been recognized with the Law360 MVP, an award given to the top attorneys in the
Country in either the plaintiff or defense bar, and a Law360 Rising Star, an award bestowed on the
top attorneys in the Country who are under 40.
        I am first generation Cuban-American and the first in my family to attend law school. As
a Latino and a child of a political refugee, my personal experiences have empowered me to form
unique connections with clients, counsel, and experts from a broad and diverse range of
backgrounds. Powerful insights can emerge from these connections, and for that reason I
consistently advocate for broader inclusion of experiences in cases where I am in leadership.
        I successfully moved the J.P.M.L. for the creation of MDL 2820, In re Dicamba
Herbicides, and was appointed to the Plaintiffs’ Executive Committee by Judge Limbaugh in 2018.
I chaired the Science & Expert Committee and coordinated legal strategy for the litigation,
including strategies for litigation and settlement. As part of my duties on the Science & Expert
Committee, I developed a detailed understanding of the degradation of pesticide products, and the
means by which exposures could be assessed. Dicamba involved thousands of claims against
multiple defendants, and required me to undertake a deep and probing inquiry into similarities and
differences in chemical structures and effects among various herbicide products. I also served on
the Settlement Team, and along with my colleagues, was able to successfully negotiate a global
settlement for American farmers totaling $400 million.
      I served in similar roles in In re: Columbia Gas Cases, (Superior Court, Sussex County,
Massachusetts) where I was responsible for coordinating experts, as well as litigation and
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settlement strategies in a case involving claims of residents, business owners, property owners,
and employees who suffered dramatic disruptions, emotional distress, and economic losses as a
result of the over pressurization of gas utility system. Along with my colleagues, I was able to
successfully lead the litigation to a swift and successful resolution through a $143 million
settlement in 2020.
       I am currently a member of the Plaintiffs Executive Committee in MDL 3060, In re: Hair
Relaxer Marketing, Sales Practices, and Products Liability Litigation, where I am chair of the
Science & Expert Committee. In that role, I am responsible for analyzing the design, composition
and manufacture of chemical cosmetic products, and the risks resulting from such products.
Additionally, I am integral to the development and coordination of litigation strategies, case
framing, and discovery matters.
        I regularly manage significant litigation dockets which require the management of a team
of lawyers and technical experts, and several of our cases are on the forefront of environmental
exposure and legal issues. I am co-lead counsel for related litigation against Lockheed Martin in
the Middle District of Florida relating to toxic exposures caused by operational emissions and
historic contamination of air, soil, and groundwater in Orlando, FL. As co-lead counsel, I have
been responsible for Litigation Strategies, Science & Experts, and a number of other important
tasks. Due to the significant breadth of chemicals involved in the contamination, and the number
of different environmental media at issue in that litigation, I have developed a deep and intimate
understanding of human exposure science, fate & transport, and the process of cancer causation.
       My understanding of product manufacture, human exposure science, fate & transport, and
the process of cancer causation has also been honed by my experience as putative class counsel in
various actions against industrial users of ethylene oxide (see e.g., Letart v. Union Carbide
S.D.W.V. 2:19 cv-878; Sommerville v. Union Carbide, S.D.W.V. 2:19 cv-877). Those cases
involve medical monitoring claims relating to environmental exposures of the known carcinogen
ethylene oxide.
         I practice exclusively in large, complex cases involving numerous plaintiffs with a broad
scope of legal claims. These cases almost entirely involve cases brought by a number of different
Plaintiffs’ counsel, and often involve claims against numerous defendants as well. I have been
recognized as a leader in this field, and excel at managing and integrating competing legal theories
and strategies from colleagues at multiple firms. I began my career co-representing hundreds of
fishermen, business owners, wage earners, property owners, clean-up workers, municipalities and
banks seeking damages resulting from the BP oil spill in the Gulf of Mexico. I continued to excel
in collaborative environments with numerous Plaintiffs counsel, including in my work in the In re
East Palestine Train Derailment (Chair of Damages Committee); Southern California Gas leak
Cases, California Coordinated Proceeding No. 4861 (Discovery and Well Integrity Committees);
Testosterone Replacement Therapy Products Liability Litigation MDL 2545 (trial co-counsel in
the first VTE bellwether trial, Science and Expert, Discovery and Auxilium Committees); Xarelto
Products Liability Litigation MDL 2592; Invokana (Canagliflozin) Products Liability Litigation
MDL 2750 (Bellwether Committee); Lipitor (Atorvastin) Marketing, Sales Practices and Products
Liability Litigation MDL 2502 (member of the Science and Expert and Discovery Committees);
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BP Oil Spill Litigation MDL 2179 (Phase I & II Trial Teams, Discovery); Chinese Drywall
Products Liability Litigation MDL 2047 (Taishan Trial Team).
       My law firm have unmatched resources that can be devoted to this litigation. While
growing every day, Morgan & Morgan currently employ almost 1,000 lawyers and over 3,000
support staff throughout offices in all 50 states. Each year, tens of thousands of people,
businesses, and governments entrust Morgan & Morgan to represent them in legal matters
ranging from personal injury and workers compensation to class actions, medical malpractice,
environmental, and complex commercial transactions.
        Morgan & Morgan established the Complex Litigation Group to handle multi-party
complex civil matters such as class actions, mass torts, qui tams, toxic torts, environmental, and
government enforcement actions. This group draws on the expertise of 30 dedicated trial attorneys
supported by 25 briefing attorneys, 100 highly skilled document review attorneys, 25 paralegals
and support staff, along with a retired FBI special agent and a retired HHS-OIG special agent. The
backbone of this operation is state of-the-art technology which empowers the team members to
take a true collaborative approach in each matter.
        The attorneys who make up this group have impressive diverse backgrounds including
litigators from top 50 defense firms, senior government counselors, elected officials, and named
partners from highly successful plaintiff firms. An indication of the success of this group lies in
the number of appointments to Plaintiff Steering Committee and leadership positions within class
and mass litigation and the staggering dollar value of recoveries in cases since its inception.
       I also have the willingness and availability to commit to this project. I am excited to
devote my energies to MDL 3087, and finding justice for individuals who have been harmed by
unsafe products.
